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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND
                              (NORTHERN DIVISION)


RICHARD J. LEVINE, AS TRUSTEE OF THE CASE NO.
LEVINE/BERENSON TRUST,
2001 Union Street, Suite 200         FILED UNDER SEAL
San Francisco, CA 94123,
                                     REDACTED PUBLIC VERSION
     Plaintiff,
                                        VERIFIED STOCKHOLDER DERIVATIVE
                                        COMPLAINT
v.

ROBERT G. KRAMER, SR.
6872 Oleander Lane
Portage, MI 49024,                      DEMAND FOR JURY TRIAL

SYED T. HUSAIN
21 Dahlia Court
Piscataway, NJ 08854,

ESTATE OF FUAD EL-HIBRI
13675 Vanderbilt Drive
Naples, FL 34110,

SUE BAILEY
8665 Bay Colony Drive
Naples, FL 34108,

ZSOLT HARSANYI
10928 Haven Park Circle
Monrovia, MD 21770,

RICHARD S. LINDAHL
108 E. Lenox Street
Chevy Chase, MD 20815,

ESTATE OF JEROME M. HAUER
7850 Southdown Road
Alexandria, VA 22202,



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GEORGE A. JOULWAN
2107 Arlington Ridge Road
Arlington, VA 22202,

RONALD B. RICHARD
2044 Random Road
Cleveland, OH 44106,

LOUIS W. SULLIVAN
5287 N. Power Ferry NW
Atlanta, GA 30327,

KATHRYN C. ZOON,
9709 Culver Street
Kensington, MD 20895,

        Defendants,

-and-

EMERGENT BIOSOLUTIONS, INC.
400 Professional Drive, Suite 400
Gaithersburg, MD 20879,
A Delaware corporation,

        Nominal Defendant.



                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

         Plaintiff Richard J. Levine, as Trustee of the Levine/Berenson Trust, (“Plaintiff”), by

through undersigned counsel, brings this action derivatively on behalf of nominal defendant

Emergent BioSolutions Inc. (“Emergent” or the “Company”) against certain of its directors and

officers for breaches of their fiduciary duties. Plaintiff’s allegations are made upon personal

knowledge as to Plaintiff, and upon information and belief as to all other matters, based upon, inter

alia, the investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of public documents, earnings conference calls, announcements made by


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Emergent, Emergent’s filings with the U.S. Securities and Exchange Commission (“SEC”),

internal records produced to Plaintiff pursuant to 8 Del. Code Section 220 (“Section 220”), wire

and press releases published by and regarding Emergent, legal filings, news reports, securities

analyst reports and advisories about the Company, and other publicly available sources.

                                 NATURE OF THE ACTION

            1. Emergent is a Delaware corporation headquartered in Gaithersburg, Maryland.

Emergent is a global life sciences company. The Company’s traditional main source of revenue

was selling the anthrax vaccine to the U.S. government.

            2. Among Emergent’s primary business lines is Contract Development and

Manufacturing, or CDMO, which includes producing substances for the mass deployment of

vaccines. Emergent manages one of just three facilities in the country designated by the U.S.

government to manufacture domestic supplies of vaccines for a public health emergency.

            3. Beginning on April 23, 2020, in the early stages of the Covid-19 pandemic,

Emergent signed lucrative deals with pharmaceutical companies Johnson & Johnson (“J&J”) and

AstraZeneca to produce Covid-19 vaccines at its Baltimore, Maryland manufacturing facility,

named Bayview. Emergent touted these contracts and its ability to deliver on them.

            4. However, unknown to investors and shareholders, Bayview had a history of internal

control failures and was not anywhere close to prepared to handle the massive work required to

manufacture vaccines for J&J and AstraZeneca.

            5. Bayview’s disastrous quality control problems caught up with Emergent quickly,

culminating in widely-circulated March and April 2021 public reports that the Company had

contaminated millions of doses of the new vaccines.




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           6. In April 2021, as the adverse conditions at Bayview came to light, the U.S.

government ordered J&J to take direct control of Bayview and prohibited Emergent from

producing any of the AstraZeneca vaccine. A series of embarrassing revelations about Bayview

followed, resulting in termination of the vaccine production contracts.

           7. In the run-up to these revelations, Emergent’s stock price soared from

approximately $60 pre-Covid to over $133 per share as the Company’s prospects seemed bright

with the Covid-19 pandemic at hand. During this period of rapid price accumulation, several high-

level Emergent insiders, including its CEO and multiple directors, took full advantage and sold

nearly $42 million of their Company stock at inflated prices. These sales were motivated in whole

or in part by material adverse inside information regarding Bayview’s adverse conditions.

           8. Beginning in April 2021, after the truth about Bayview was revealed and the stock

price plummeted to pre-Covid levels, several class action lawsuits were filed against Emergent

and certain of its executive officers in the U.S. District Court for the District of Maryland, alleging

that the defendants aggressively promoted Emergent’s Covid-19 contracts to investors while

withholding critical information about the Company’s pattern of poor quality control at Bayview,

including the results of a devastating inspection by the U.S. Food and Drug Administration

(“FDA”) that occurred in April 2020.

           9. These lawsuits were consolidated under the caption In Re Emergent BioSolutions

Inc. Securities Litigation (No. 8:21-cv-00955) (the “Securities Class Action”). The plaintiffs allege

violations of federal securities laws under Section 10(b) (and Rule 10b-5) and Section 20(a) of the

Securities Exchange Act of 1934 against defendants Emergent, Robert G. Kramer, Richard S.

Lindahl, and Syed T. Husain, the Company’s CEO, CFO, and former Senior Vice President of

Contract Development and Manufacturing, respectively.




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           10. By order dated September 1, 2023, U.S. District Judge Deborah L. Boardman of

this Court denied the defendants’ motion to dismiss in the Securities Class Action, sustaining

allegations that defendants made false and misleading statements to investors about Emergent’s

business and operations to investors with scienter, or intent to defraud, exposing the Company to

massive liability to a class of Emergent stock purchasers between July 6, 2020 and May 19, 2021.

           11. In addition to the Securities Class Action, the Company has become subject to

several investigations by government agencies and Congressional committees, including (a) the

SEC; (b) the U.S. Department of Justice (“DOJ”); (c) the Maryland Attorney General’s Office; (d)

the New York Attorney General’s Office; (e) Representatives Carolyn Maloney and Jim Clyburn

of the U.S. House Committee on Oversight and Reform and the Select Subcommittee on the

Coronavirus Crisis; and (f) Senator Patty Murray of the U.S. Senate Committee on Health,

Education, Labor and Pensions.

           12. Shareholder value has been severely damaged by the misconduct of the Company’s

fiduciaries. The stock currently trades at less than $3 per share.

           13. On July 20, 2022, Plaintiff made a litigation demand on the Emergent Board to

pursue claims against the individuals responsible for exposing the Company to civil and regulatory

liability, and for personally profiting off the inflated stock price by engaging in unlawful insider

trading. See Exhibit A.

           14. After a period of extensive delay, Plaintiff demanded action following Judge

Boardman’s September 1, 2023 order in the Securities Class Action.

           15. As alleged herein, now, more than fifteen months after the initial demand, the Board

has still failed to act on Emergent’s obviously meritorious claims against its officers and directors,

even as potential three-year statute of limitations defenses for the wrongdoers loom.




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             16. The Board’s refusal to timely act was wrongful, requiring Plaintiff to file the instant

complaint to protect and enforce the Company’s claims.

                                  JURISDICTION AND VENUE

             17. Jurisdiction is conferred by 28 U.S.C. §1332. Complete diversity among the parties

exists and the amount in controversy exceeds $75,000, exclusive of interest and costs.

             18. This Court has jurisdiction over each defendant because each defendant is either a

corporation that conducts business in and maintains operations in this District, or is an individual

who has sufficient minimum contacts with this District to render the exercise of jurisdiction by the

District courts permissible under traditional notions of fair play and substantial justice.

             19. Venue is proper in this Court in accordance with 28 U.S.C. §1391 because: (i)

Emergent maintains its principal place of business in this District; (ii) one or more of the

defendants either resides in or maintains executive offices in this District; (iii) a substantial portion

of the transactions and wrongs complained of herein, including the defendants’ participation in

wrongful acts, and aiding and abetting and conspiracy in violation of fiduciary duties owed to

Emergent, occurred in this District; and (iv) defendants received substantial compensation in this

District by doing business here and engaging in activities that had an effect in this District.

                                              PARTIES

Plaintiff

             20. Plaintiff is a current stockholder of Emergent. Plaintiff has continuously held

Emergent common stock since 2011. Plaintiff is a citizen of New Mexico.

Nominal Defendant Emergent

             21. Emergent is a global life sciences company incorporated under the laws of

Delaware. Its principal executive offices are at 400 Professional Drive, Suite 400, Gaithersburg,




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Maryland 20879. Emergent’s shares trade on the New York Stock Exchange (“NYSE”) under the

ticker symbol “EBS.” Emergent is a citizen of Maryland.

Individual Defendants

           22. Defendant Robert G. Kramer, Sr. has served as an Emergent director and as its

President and CEO since April 2019. Prior to his current role, he served as Emergent’s COO from

March 2018 until March 2019. He served as Executive Vice President, Administration, CFO, and

Treasurer from September 2012 until March 2018. Kramer joined Emergent as its CFO in 1999.

Kramer received $5,569,978 in compensation for the fiscal year that ended December 31, 2020.

This included $893,860 in salary, $2,050,007 in stock awards, $1,392,416 in option awards,

$1,225,020 in non-equity incentive plan compensation, and $8,675 in all other compensation.

Upon information and belief, Kramer is a citizen of Michigan.

           23. Defendant Syed T. Husain served as the Emergent’s Senior Vice President and

Head of CDMO from 2019 until April 2021, when it was announced he would be leaving the

Company. Upon information and belief, Husain is a citizen of New Jersey.

           24. The Estate of Fuad El-Hibri is named as a defendant in place of Fuad El-Hibri, who

passed away on or about April 23, 2022. El-Hibri served as an Emergent director since 2004 and

as Executive Chairman of the Board since April 2012. Prior to that, he served as Emergent’s CEO

and as Chairman of the Board from June 2004 until March 2012 and as President from March 2006

until April 2007. For the fiscal year that ended on December 31, 2020, El-Hibri received

$3,213,484 in compensation. This included $1,192,202 in salary, $1,200,046 in stock awards,

$815,051 in option awards, and $6,185 in all other compensation. Upon information and belief,

the Estate of Fuad El-Hibri is a citizen of Florida.




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           25. Defendant Sue Bailey served as an Emergent director from June 2007 until May

2021. For the fiscal year that ended December 21, 2020, Defendant Bailey received $340,000 in

compensation from Emergent. This included $90,000 in fees and $250,000 in stock awards. Upon

information and belief, Bailey is a citizen of Florida.

           26. Defendant Zsolt Harsanyi has served as an Emergent director since August 2004.

For the fiscal year that ended on December 31, 2020, Harsanyi received $360,000 in compensation

from Emergent. Upon information and belief, Harsanyi is a citizen of Maryland.

           27. Defendant Richard S. Lindahl has served as the Company’s Executive Vice

President, CFO, and Treasurer since March 2018. For the fiscal year that ended December 31,

2020, Lindahl received $2,281,300 in compensation. This included $549,390 in salary, $749,998

in stock awards, $509,425 in option awards, $462,012 in non-equity incentive plan compensation

and $10,475 in all other compensation. Upon information and belief, Lindahl is a citizen of

Washington, District of Columbia.

           28. The Estate of Jerome M. Hauer is named in place of Jerome M. Hauer, who passed

away on or about August 11, 2023. Hauer served as an Emergent director since 2015. For the fiscal

year that ended December 21, 2020, Hauer received $355,000 in compensation from Emergent.

This included $105,000 in fees earned or paid in cash and $250,000 in stock awards. Upon

information and belief, the Estate of Jerome M. Hauer is a citizen of Virginia.

           29. Defendant George A. Joulwan served as an Emergent director from 2013 through

2023. For the fiscal year that ended December 21, 2020, Joulwan received $345,000 in

compensation from Emergent. This included $95,000 in fees and $250,000 in stock awards. Upon

information and belief, Joulwan is a citizen of Virginia.




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           30. Defendant Ronald B. Richard has served as an Emergent director since 2005. For

the fiscal year that ended December 21, 2020, Richard received $390,000 in compensation from

Emergent. This included $140,00 in fees and $250,000 in stock awards. Upon information and

belief, Richard is a citizen of Ohio.

           31. Defendant Louis W. Sullivan has served as an Emergent director since 2006. For

the fiscal year that ended December 21, 2020, Sullivan received $355,000 in compensation from

Emergent. This included $105,000 in fees earned or paid in cash and $250,000 in stock awards.

Upon information and belief, Sullivan is a citizen of Georgia.

           32. Defendant Kathryn Zoon has served as an Emergent director since 2016. For the

fiscal year that ended December 21, 2020, Zoon received $345,000 in compensation from

Emergent. This included $95,000 in fees earned or paid in cash and $250,000 in stock awards.

Upon information and belief, Zoon is a citizen of Maryland.

           33. The defendants identified in paragraphs 22 through 32 are sometimes referred to

herein as the Individual Defendants.

           34. Each Individual Defendant, by virtue of his or her management, executive, and/or

directorship positions with Emergent, had the duty to exercise due care and diligence and the duty

of full and candid disclosure of all material facts.

           35. The Individual Defendants were required to exercise reasonable care and prudent

supervision over the dissemination of information concerning the business, operations, and

financial results of Emergent.

           36. The Individual Defendants were required to supervise the preparation of

Emergent’s public filings and approve any reports, such as press releases and SEC filings,

concerning Emergent’s business and financial condition. The Individual Defendants were




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prohibited from engaging in unlawful corporate conduct, such as violations of the laws, rules, and

regulations applicable to Emergent.

           37. Each Individual Defendant directly participated in the management of the Company

and/or was involved in drafting, producing, reviewing, and/or disseminating the false and

misleading statements alleged herein, and/or was aware that misleading statements were being

issued regarding the Company’s operating performance and internal controls, and approved or

ratified these statements.

           38. Because of each Individual Defendant’s positions with Emergent, each knew and

had access to non-public information about the business of Emergent, as well as its finances,

markets and present and future business prospects, via access to internal corporate documents,

conversations and connections with other corporate officers and employees, attendance at

management and/or board meetings and committees thereof, and reports and other information

provided in connection therewith.

           39. The Individual Defendants knew, or recklessly disregarded, that statements made

about Emergent were false and misleading when made. The Individual Defendants, as corporate

fiduciaries entrusted with non-public information, were obligated to disclose material adverse

information regarding the Company.

           40. Because of their positions and access to material non-public information, each of

the Individual Defendants knew or recklessly disregarded that the adverse facts specified herein

had not been disclosed to, and were being concealed from, shareholders and investors, and that the

positive representations that were being made were false and misleading.

           41. Because of their positions of control and authority as directors and/or officers of

Emergent, the Individual Defendants were able to and did, directly and/or indirectly, remain




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informed as to the status of Emergent’s operations, and upon receipt of notice or information of

imprudent or unsound business practices, were required to make a reasonable inquiry, and to take

steps to correct such conditions or practices and make such disclosures as are necessary to comply

with state and federal securities laws.

                               SUBSTANTIVE ALLEGATIONS

   A. Relevant Background of Emergent and Bayview.

           42. Emergent develops, manufactures, and delivers medical countermeasures to

address public health threats, including through the development and manufacturing of vaccines.

Emergent’s CDMO business unit provides development services, drug substance manufacturing,

and drug product manufacturing and packaging.

           43. These services are provided to other biopharmaceutical companies, government

agencies, and non-government organizations, and employ five technology platforms (mammalian,

microbial, viral, plasma, and gene therapy) in nine development and manufacturing facilities.

           44. As the Company disclosed in its Form 10-K dated February 19, 2021: “Facilities

involved in the manufacture and distribution of approved products are required to be registered

with the [U.S. Food and Drug Administration (“FDA”)] and certain state agencies and are subject

to periodic unannounced inspections by the FDA for compliance with [current good manufacturing

policies (“cGMP”)] and other laws.” Concerning vaccines, the Form 10-K noted that Emergent

has “invested significant effort and financial resources in the development of our vaccines,

therapeutics and medical device product candidates and the acquisition of additional product

candidates[,]” but commercial success depends on the “successful development, formulation and

cGMP scale-up of manufacturing that meets FDA or other foreign regulatory requirements.”




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           45. Central to Emergent’s CDMO business is the Bayview facility. Acquired in 2009,

Bayview has served as a contract testing laboratory, performing analysis pursuant to established

specifications and quality agreements on drug substance and drug product samples received from

external sources and manufacturing sites. Bayview has both microbiology and biochemistry

laboratories, and it performs research and development analyses.

           46. Prior to the relevant period, Bayview underwent substantial reconstruction to

improve its operating conditions. Emergent describes Bayview as one of just three facilities built

with U.S. taxpayer support and designed by the U.S. government to support its national security

and public health emergency needs. Indeed, to ensure a domestic supply of vaccines in a pandemic,

Emergent was awarded a $163 million U.S. government contract on June 6, 2012, to ready

Bayview for mass production in a crisis.

           47. In early 2020, such a crisis materialized with the Covid-19 pandemic.

   B. The Covid-19 Pandemic.

           48. In April 2020, Emergent entered into a technology transfer license agreement with

Janssen Pharmaceuticals, Inc., one of the Janssen Pharmaceutical Companies of J&J, to provide

manufacturing services in support of J&J’s Covid-19 vaccine candidate. The deal was initially

valued at $135 million and required Emergent to provide drug substance manufacturing services

and to reserve large-scale manufacturing capacity for J&J.

           49. Also in April 2020, the FDA inspected Bayview, finding numerous problems with

its operation that needed to be corrected. The FDA provided a list of negative observations,

including that (a) “[e]stablished specifications, test procedures and laboratory control mechanisms

are not followed and documented at the time of performance”; (b) “[t]he responsibilities and

procedures applicable to the quality control unit are not in writing and fully followed”; (c)




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“[s]eparate or defined areas to prevent contamination or mix-ups are deficient regarding operations

related to holding of rejected components before disposition”; and (d) “employees are not given

training in the particular operations they perform as part of their function and current good

manufacturing practices.” Bayview was “not ready for commercial operations.”

           50. In May 2020, the U.S. government announced Operation Warp Speed, a public-

private partnership between the U.S. Department of Health and Human Services (“HHS”), CDC,

FDA, National Institutes of Health, the Biomedical Advanced Research and Development

Authority (“BARDA”), and other federal agencies, the U.S. Department of Defense, and private

pharmaceutical companies aimed at accelerating the development, manufacturing, and distribution

of Covid-19 vaccines, therapeutics, and diagnostics.

           51. On June 1, 2020, the U.S. government awarded Emergent an approximately $628

million contract to reserve manufacturing space and upgrade its facilities as part of Operation Warp

Speed. This contract was one of the largest awards at the time, with Bloomberg calling Emergent

“the ultimate Operation Warp Speed company.”

           52. On June 11, 2020, Emergent announced that it had signed a separate vaccine

manufacturing agreement with AstraZeneca, initially valued at $87 million. Under this agreement,

Emergent agreed to provide contract development and manufacturing services and large-scale

manufacturing capacity through 2020 to support AstraZeneca’s Covid-19 vaccine candidate.

           53. On July 6, 2020, the Company announced that the J&J agreement had been

expanded to cover five-years, valued at approximately $480 million over the first two years.

           54. On July 27, 2020, the Company announced that the AstraZeneca agreement had

been expanded to cover an additional year, valued at approximately $174 million through 2021.




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           55. Throughout the relevant period, Emergent touted its deals with J&J and

AstraZeneca, explaining that Bayview was properly designed to handle rapid manufacturing in

large quantities. Specifically, on July 6, 2020, Emergent issued a press release announcing the

five-year expansion of the J&J agreement.

           56. When announcing the new agreement, Kramer highlighted the Company’s

“manufacturing strength to address the Covid-19 pandemic.” Husain added that Emergent had “the

expertise and capabilities to meet the long-term needs of [its] customers and provide ongoing

commercial manufacturing to benefit patients.”

           57. A few weeks later, on July 27, 2020, Emergent issued a press release announcing

the expansion of the AstraZeneca agreement in which Husain boasted that “Emergent stands ready

alongside leading innovators to rapidly deploy our [CDMO] services to help meet the substantial

demand for a vaccine – anchored on our foundational expertise in development and manufacturing

and propelled by our commitment to our mission – to protect and enhance life.”

           58. Emergent continued to emphasize the Company’s level of preparedness of its

manufacturing facilities in the following weeks and months. For example, in a July 30, 2020 press

release, Kramer stated that “Emergent is uniquely prepared to answer the call for [the] Covid-19

pandemic” with the Company’s “proven manufacturing capabilities in place.”

           59. On September 14, 2020, Lindahl stated at a healthcare conference that J&J and

AstraZeneca had chosen Emergent due to “the history we have of high quality manufacturing[;] of

delivering on complex problems[;] of the fact that we had capacity available in the – primarily in

the Bayview facility that we have, which was designed expressly for the purpose in partnership

with the government of dealing with an emergency just like Covid.”




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           60. At the same conference, Lindahl also stated that Emergent’s manufacturing

facilities can “handle a different set of applications and be set up to move very rapidly, and that’s

exactly what we’re doing right now.”

           61. From November 2020 to at least February 2021, Emergent continued to describe

its ability to “handle multiple products” and that the Company was “right on schedule” in its effort

“to provide as many as 100 million doses to the U.S. government in the first half of 2021.”

   C. Bayview’s Problems are Revealed.

           62. Despite publicly touting its manufacturing capacity and level of preparedness,

Emergent’s Bayview facility had a history of manufacturing problems, including longstanding

contamination risks and quality control issues that led to string of FDA citations, which rendered

the Company’s campaign of statements about Bayview’s capabilities a complete sham.

           63. On March 31, 2021, The New York Times published an article reporting on the

accidental contamination of the J&J and AstraZeneca Covid-19 vaccines at the facility. The article

stated that in late February 2021, employees at Bayview “mixed up” ingredients of the two

vaccines, contaminating up to 15 million doses of J&J’s vaccine and forcing regulators to delay

authorization of the plant’s production lines.

           64. The article also noted that the extensive vaccine contamination went undiscovered

for multiple days until J&J’s quality control checks finally uncovered it. In light of this, it became

apparent that Emergent’s ability to train and supervise its employees during the manufacturing

process was in serious doubt. It was further revealed that this was not just an isolated incident but

was part of a long-standing pattern of quality failures at Bayview.

           65. On April 1, 2021, the Associated Press reported on Emergent’s “history of

violations,” noting that the FDA had repeatedly cited Emergent for problems such as poorly trained




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employees, cracked vials, and problems managing mold and other contamination. The article

emphasized that the FDA’s inspection of Bayview had faulted the Company for a series of quality

control deficiencies and that it was not scaled to make drug substance for millions of vaccines.

           66. On or around April 3, 2021, the U.S. government took the extraordinary action of

putting J&J in charge of Bayview and prohibiting Emergent from producing the AstraZeneca

vaccine to prevent any further cross-contamination.

           67. Although the Company had touted its “unique” preparedness and “proven

manufacturing capabilities,” The New York Times called the “ingredient mix-up” and stripping of

Emergent’s control over its own plant “a significant setback and a public relations debacle.”

           68. Then, on April 6, 2021, The New York Times published another report citing

undisclosed internal documents and interviews with current and former employees and federal

officials that described Emergent as being ill-equipped to take on the important task of

manufacturing COVID-19 vaccines—despite receiving a $163 million federal contract to improve

its facilities and prepare for high-volume production.

           69. Audits and investigations conducted in 2020 by J&J, AstraZeneca, two federal

agencies, and the Company’s own internal investigators, found that Emergent had not followed

basic industry standards at Bayview and identified repeated shortcomings in efforts to disinfect

and prevent contamination.

           70. In particular, after a June 2020 audit conducted by J&J, J&J sent a report to

Emergent that highlighted “weaknesses or gaps” in quality systems. J&J also noted that

Emergent’s virus contamination control strategy at Bayview was “deficient.” Additionally, an

audit conducted for AstraZeneca specifically highlighted a risk of viral cross-contamination, which

experts believed was responsible for tainting the millions of doses of the J&J vaccine.




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           71. In the Company’s own internal review in July 2020, Emergent’s auditors found that

errors occurring within Bayview “are not investigated to determine root cause, or are not

investigated adequately.” For instance, Emergent’s auditors said mold had been repeatedly

discovered in the room where cell cultures were grown, yet Emergent workers conducted

“essentially no investigation” of this serious issue.

           72. Additionally, Emergent’s auditors noted that the flow of workers and materials at

Bayview was not adequately controlled “to prevent mix-ups or contamination.” In August 2020,

another internal investigation found that Emergent approved four raw materials used to produce

AstraZeneca’s vaccine without fully testing them first. The report showed that Emergent’s

managers and supervisors often excused these deviations and justified violations because of the

shortened production timelines required to meet Operation Warp Speed deadlines.

           73. The April 6, 2021 The New York Times article also noted that the contaminated J&J

vaccine was not the first time Emergent was forced to discard doses of a Covid-19 vaccine because

of potential contamination. Between October 2020 and January 2021, Emergent threw away

approximately five lots of the AstraZeneca vaccine—each lot the equivalent of two-to-three

million doses—because of contamination or suspected contamination.

           74. Additionally, in November 2020, production of a batch of the J&J vaccine was

discarded after workers “hooked up” the wrong gas line and accidentally “suffocated” the cells

where the virus for the vaccine was being grown. The next month, workers making AstraZeneca’s

vaccine deviated from manufacturing standards on average more than three times a day, and about

one-fifth of the deviations were classified as “major.”

           75. The New York Times also reported that Carlo de Notaristefani, a manufacturing

expert who had been overseeing production of Covid-19 vaccines for the federal government since




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May 2020, issued a report in June 2020 concluding that Emergent lacked trained personnel and

had a history of problems with quality control. Notaristefani noted that Emergent’s staffing was

“inadequate to enable the Company to manufacture at the required rate.”

           76. On April 19, 2021, the consequences of Emergent’s deficiencies came into focus

when Emergent announced that, “at the request of the FDA, Emergent agreed not to initiate the

manufacturing of any new material at its Bayview facility and to quarantine existing material

manufactured at the Bayview facility pending completion of the [FDA’s] inspection and

remediation of any resulting findings.”

           77. Then, on April 21, 2021, the FDA publicly released a Form 483 report detailing

nine negative observations from its Bayview inspection, noting that the Company had “agreed to

pause new production while it works with the FDA to resolve potential quality issues,” and that

the FDA would “not allow the release of any product until we feel confident that it meets our

expectations for quality.”

           78. The April 21, 2021 Form 483 included the following top-line observations:

                   Observation 1: “Failure to conduct thorough investigations into
                   unexplained discrepancies.”

                   Observation 2: “The building used for the manufacture of the client
                   [redacted] viral vaccine drug substance and client [redacted] viral
                   vaccine drug substance is not maintained in a clean and sanitary
                   condition.”

                   Observation 3: “The building used for the manufacture of the client
                   [redacted] viral vaccine drug substance and client [redacted] viral
                   vaccine drug substance is not of suitable size, design, and location to
                   facilitate cleaning, maintenance, and proper operations.”

                   Observation 4: “Written production and process control procedures to
                   prevent cross-contamination are not followed in the execution of




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                   production and process control functions and are not documented at the
                   time of performance.”

                   Observation 5: “The components, product containers and/or closures
                   were not handled and/or stored in a manner to prevent contamination.”
                   Observation 6: “Written procedures designed to assure that the drug
                   substances manufactured in the facility have the identity, strength,
                   quality, and purity they purport or are represented to possess are
                   inadequate.”

                   Observation 7: “Employees were not trained in the particular operation
                   that they performed and/or in CGMPs related to their job function.”

                   Observation 8: “Equipment used is not of adequate size to facilitate
                   operations for its intended use or for cleaning and maintenance.”

                   Observation 9: “Equipment and/or utensils are not cleaned and
                   maintained at appropriate intervals to prevent contamination that would
                   alter the safety, identity, strength, quality or purity of the drug
                   substance.”

           79. On April 29, 2021, shortly after receiving this disastrous inspection report, Kramer

and Lindahl spoke on a conference call for Emergent’s first quarter 2021 financial results, with

Kramer taking full responsibility and promising swift action: “For things that we should have done

differently, my leadership team and I bear full accountability. […] [Y]ou have my commitment

that we’re going to do everything we can to resolve these issues quickly and as safely as possible.”

           80. On April 30, 2021, Emergent submitted a 52-page response to the FDA in which it

confirmed the cross-contamination problems and stated that the events had given Emergent a

“renewed focus.” Emergent also promised to implement—with J&J’s help—a Quality

Enhancement Plan (“QEP”) to include certain “immediate actions,” “interim controls,” and

“longer term improvements” in order to remediate these serious quality control deficiencies.




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           81. On June 11, 2021, The New York Times reported that, according to the FDA, 60

million doses of the J&J vaccine manufactured at Bayview were discarded, with a further 10

million allowed to ship only with a “warning” that regulators could not guarantee they were

produced with proper manufacturing practices.

           82. Then, on June 18, 2021, The New York Times followed up with additional reporting

that the problems at Bayview were so serious that more than 100 million doses of the J&J and

AstraZeneca vaccines remained in limbo while the FDA “[reviewed] records of virtually every

batch that Emergent produced to determine if doses are safe.”

           83. Finally, on November 4, 2021, Emergent disclosed that HHS had terminated the

Company’s 2012 contract for public-private partnership for pandemic preparedness, including its

lucrative “task order” for producing the J&J and AstraZeneca vaccines.

   D.




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   E. The Congressional Report.

           97. On May 10, 2022, U.S. Representatives Maloney and Clyburn issued a press release

and report describing the results of their investigation into Emergent.

           98. According to Representative Maloney:




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“Today’s report shows that Emergent profited from the pandemic while
violating the public’s trust. Despite major red flags at its vaccine manufacturing
facility, Emergent’s executives swept these problems under the rug and
continued to rake in taxpayer dollars. Ultimately, our report shows that
Emergent’s manufacturing failures and deceptive tactics led to the destruction
of millions of doses of desperately needed vaccines. Emergent’s business
practices are simply unacceptable, and I urge the federal government to carefully
consider future contracts in light of Emergent’s failures.”
  99. Similarly, Representative Clyburn stated as follows:


“Today’s staff report demonstrates how Emergent BioSolutions and its
executives failed the American people through the contamination of hundreds
of millions of desperately-needed vaccines at a pivotal point in the
pandemic. These doses were squandered despite repeated warnings from
employees, outside consultants, pharmaceutical companies, and FDA regulators
that the company’s manufacturing practices were unsafe and that it was unlikely
to fulfill the contract recklessly awarded by the Trump
Administration. Emergent executives prioritized profits over producing
vaccines in a responsible manner that complied with FDA requirements. I
commend the Biden Administration for terminating their contract following
these unacceptable actions.”
 100. The press release summarized the report as follows:


Nearly 400 million doses of coronavirus vaccines have been destroyed as a
result of Emergent's failure to meet or maintain quality standards. This
includes millions of vaccine doses that were destroyed after FDA ordered a
three-month halt of manufacturing activities between April and August 2021.
Emergent hid evidence of contamination from government inspectors.
-Immediately before an FDA site visit in February 2021, Emergent employees
removed quality-assurance “hold tags” from Johnson & Johnson vaccine
batches, which indicated that the containers had a potential quality issue. An
email obtained by the Committees states that the tags were removed “to avoid
drawing attention” from FDA inspectors.
-New documents also show that Emergent personnel expressed concern
that HHS was “getting too involved” following the company’s cross-
contamination of the Johnson & Johnson and AstraZeneca vaccines in March
2021.
Emergent executives promoted the company’s manufacturing capabilities
despite being warned of severe deficiencies.




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-Documents obtained by the Committees reveal that before Emergent finalized
manufacturing agreements with Johnson & Johnson and AstraZeneca,
Emergent’s then-Executive Vice President of Manufacturing and Technical
Operations privately acknowledged that he had warned Emergent senior
executives “for a few years” about the company’s deficient quality systems,
saying that “room to improve is a huge understatement.”
-Despite these internal warnings, Emergent entered into contracts with Johnson
& Johnson and AstraZeneca to manufacture coronavirus vaccines for $482
million and $174 million, respectively. Internal Emergent communications
reveal that after manufacturing began, the Senior Director of Quality at the
facility warned, “Our risk is high!” and, “we lack commercial GMP [good
manufacturing practices] compliance maturity.”
FDA, Johnson & Johnson, and AstraZeneca identified multiple deficiencies
at Bayview, which Emergent failed to remediate despite urgent warnings.
-In July 2020, AstraZeneca personnel noted that they were “concerned that the
FDA observation was that Emergent isn’t prepared for commercial
manufacturing as things stand currently, and yet we will start commercial
manufacture [sic] there very soon.”
-Internal Johnson & Johnson communications from October 2020 reveal that the
Director of Regulatory Compliance warned it was “unclear” if the Emergent’s
Bayview site was ready to begin manufacturing and “effectively manage all the
remediation efforts.”
-An outside consultant to Emergent provided a stark warning in November
2020: “I am stating very loudly that this work is NON-CGMP
compliant. And a direct regulatory risk.”
Inexperienced staff and high staff turnover at Emergent contributed to the
vaccine contamination.
-Emergent acknowledged in July and August 2020 that its staff were
insufficiently trained, noting that “most temporary employees [have] little or
no pharmaceutical experience.”
-AstraZeneca concluded after visits to Bayview in November and December
2020 that “poor cleaning was part of the root cause” of the persistent
contamination, which was corroborated by an Emergent executive, who asked
in an internal email, “When will all these trash going to be out of here? Trash
are piling up.”
-FDA acknowledged during a staff briefing, “Clearly, in retrospect, they hired
a lot of individuals not as familiar with vaccine manufacturing, that did not
have adequate training to do so.”




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         Under the Biden Administration, HHS terminated its contract with
         Emergent because the company failed to follow federal manufacturing
         standards.
         -According to HHS, Emergent received $330 million in taxpayer dollars before
         the Biden Administration terminated the company’s contract in November
         2021. This action saved taxpayers $320 million that remained on the contract
         and came after the Committees launched an investigation and released
         preliminary findings about Emergent’s troubling conduct.
        [emphasis in original]

   F. The Securities Class Action.

          101. As alleged herein, on September 1, 2023, Judge Boardman denied Emergent’s and

certain other defendants’ motion to dismiss the complaint in the Securities Class Action pending

in this Court. The Court summarized the lead plaintiffs’ allegations as follows:


         The Plaintiffs allege that throughout the Class Period, the Defendants were
         aware that severe and persistent deficiencies at the Bayview facility undermined
         Emergent’s ability to produce large quantities of drug substance for two different
         clients at once; that these known problems were not disclosed to the public; and
         that the public statements that the Defendants did make were false and
         misleading (and drove up Emergent’s stock price). They also allege that once
         news of contamination and other issues broke, the Defendants continued to make
         false and misleading public statements designed to reassure investors and mute
         the extent of Emergent’s stock price decline.
          102. The Court sustained the lead plaintiffs’ claims for securities violations, which it

characterized as the “business operations” fraud. According to the Court:


         The Plaintiffs allege that the Defendants engaged in a “business operations”
         fraud by misrepresenting Emergent’s vaccine manufacturing capabilities,
         particularly its anti-contamination measures, with the requisite scienter. The
         “business operations” fraud section of the amended complaint identifies roughly
         sixty public press releases, reports, filings, presentations, and other
         announcements by the Defendants in which they allegedly made misstatements
         and omissions during the Class Period. ECF 54, ¶¶ 129–219. The Court finds
         the Plaintiffs plausibly allege that, beginning on July 6, 2020, the Defendants
         made, with the requisite scienter, material misstatements or omissions regarding
         Emergent’s capabilities to undertake large-scale manufacturing at the Bayview
         facility. The Plaintiffs also plausibly allege that after news broke on March 31,
         2021 of the contaminated J&J batch and continuing until May 19, 2021, the


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         Defendants made, with the requisite scienter, material misstatements or
         omissions regarding the scope of Bayview’s contamination issues.
          103. Significantly, the Court’s analysis was supported by the accounts of certain

confidential witnesses, which in turn are consistent with internal information known to the Board

and management, as gleaned by Plaintiff from the Section 220 documents he obtained from the

Company:


         The Plaintiffs identify ten confidential witnesses (“CWs”) who observed and
         reported various deficiencies at Bayview. They include: (1) CW1, a Senior
         Project Manager at corporate headquarters from April to December 2020; (2)
         CW2, a Senior Program Manager, Operational Excellence from December 2018
         to January 2021, then Director, Operational Excellence from January to
         December 2021, based at Bayview and other facilities; (3) CW3, a Quality
         Assurance Analyst at the Bayview facility from November 2020 to November
         2021; (4) CW4, a Quality Control (“QC”) Microbiology Analyst II at the
         Bayview facility from July 2019 to July 2020; (5) CW5, a Project Analyst at
         corporate headquarters from August 2020 to January 2021; (6) CW6, a QC
         Microbiology Specialist, Data Review Supervisor at the Bayview facility from
         October 2020 to May 2021; (7) CW7, a Lead QC Biological Laboratory Support
         Technician at the Bayview facility from March to October 2020; (8) CW8, a QC
         Supervisor at the Bayview facility from June to December 2020; (9) CW9, a
         Manufacturing Assistant and then Bioprocess Associate at the Bayview facility
         from July 2020 to October 2021; and (10) CW10, a QC Analyst II –
         Microbiology at the Bayview facility from April 2020 to May 2021.
         The CWs generally allege that when Emergent took on COVID-19 contracts in
         spring and early summer 2020, the Bayview facility did not have the properly
         trained personnel, equipment, quality control processes, physical space, or
         functional capability needed to handle the work—in short, that Emergent was
         unqualified and unprepared for mass production of vaccine drug substance.
         These deficiencies, the CWs allege, persisted throughout the Class Period.
          104. Following an extensive analysis, the Court held that for the period July 6, 2020

through March 31, 2021, the lead plaintiffs adequately alleged that the defendants made false and

misleading statements regarding Bayview’s pre- and post- manufacturing capabilities, and that

they made such statements with scienter, or intent to defraud investors.

          105. In this regard, the Court held that Kramer’s stock sales in particular of

approximately $10 million were probative of his motive to commit securities fraud:


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           The insider trader allegations support a strong inference of scienter as to Kramer
           beginning in November 2020. According to the amended complaint, Kramer
           sold shares yielding over $1 million outside of any 10b5-1 plan and yielding
           over $10 million pursuant to his 10b5-1 plan, the latter of which occurred over
           three weeks in January to February 2021. These sales were suspicious in timing
           because they were made shortly after multiple batches were destroyed and
           around the same time as the alleged misstatements. They were suspicious in
           amount because Kramer’s gross proceeds were 31 times larger than in the
           comparable pre-Class Period timeframe; because his 10b5-1 plan had never sold
           over $161,000 in any year from 2016 onward; and because the $8.61 million he
           reaped in net gains was far higher than his base salary in 2020 ($875,000) and
           2021 ($1 million).
            106. In sum, for the period July 6, 2020 through March 31, 2021, the Court held as

follows:


           When viewed holistically, the Plaintiffs’ allegations raise a strong inference that
           Emergent, Kramer, and Husain either knowingly or recklessly misled investors
           between July 6 and March 31. This inference is strengthened by the core
           operations doctrine. Under this doctrine, if a defendant’s alleged misstatements
           are related to his company’s core operations, he is more likely to have known
           that his statements were false. [citation omitted]. Thus, allegations that
           individual defendants were senior executives and that the relevant operations
           represented a core business of their company are relevant to a court’s holistic
           scienter analysis, provided, of course, that they are accompanied by
           particularized allegations that a defendant was aware of problems in those
           operations. [citation omitted]. Husain and Kramer were senior executives at a
           biopharmaceutical company that contracted with the federal government and
           two pharmaceutical companies to manufacture drug substances for vaccines
           during the early days of the global pandemic. These executives repeatedly touted
           Emergent’s ability to rapidly and on a large scale manufacture drug substances
           for COVID-19 vaccines. That their statements related to Emergent’s core
           operations strengthens the inference of scienter. Viewed holistically, their
           statements and admissions, Kramer’s alleged motives, the CW allegations, the
           FDA and other reports, the contemporaneous emails, and the ongoing batch
           destruction indicate that Kramer and Husain were aware of contamination
           problems and other significant deficiencies at Bayview.
           This malicious inference is at least as compelling as any innocent inference,
           including the Defendants’ suggested inference that Emergent “worked in good
           faith to manufacture vaccine drug substance in response to a pandemic,
           disclosed the risks, suffered an unfortunate contamination incident, and worked
           to address it.” ECF 72-1, at 36. Emergent, Kramer, and Husain may well have
           been working in good faith to manufacture vaccine drug substance rapidly. But
           the Plaintiffs have raised a strong inference that while doing so, they omitted the



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         myriad known deficiencies at Bayview that undercut the success of that
         endeavor and did so with reckless disregard for how those omissions could
         mislead investors. The Plaintiffs’ allegations raise a cogent and strong inference
         of scienter as to Kramer, Husain, and Emergent.
          107. The Court went on to hold that, for the period from March 31, 2021 through May

19, 2021, the same defendants made false and misleading statements with scienter while trying to

minimize the severity of the problems discovered at Bayview, including in Congressional

testimony provided by Kramer:


         The Plaintiffs have plausibly alleged that Emergent’s statements and Kramer’s
         testimony that an isolated, “single batch” did not meet specifications were false.
         As of February 2021, Emergent had destroyed not just the February 2021
         contaminated batch but also five AZ batches and an additional J&J batch due to
         contamination and other worker errors.
         The Plaintiffs also have plausibly alleged that Emergent’s statements that the
         Bayview facility was “validated” to meet all current Good Manufacturing
         Practices, that its quality checks were “rigorous,” or that those systems “worked
         as designed” were false. The CWs, FDA reports, and audits by J&J, AZ,
         BARDA, and Emergent indicate that quality control systems were deficient even
         before manufacturing began, and despite improvement attempts, Emergent
         failed to bring the Bayview facility into compliance with basic Current Good
         Manufacturing Practices.
         108. The defendants in the Securities Class Action are set to answer the complaint on

October 30, 2023.

                                      INSIDER TRADING

          109. Between April 2020 and March 2021, as Emergent’s stock price doubled, several

high-level Emergent insiders made lucrative sales of Company stock while in possession of

material adverse non-public information, including, among other things, information pertaining to

Emergent’s ability to manufacture large scale quantities of COVID-19 vaccines.

          110. Based on a review of Form 4s filed with the SEC during the relevant period,

Harsanyi, El-Hibri, Kramer, Bailey, Hauer, Joulwan, Richard, and Zoon (together, the “Selling

Insiders”) collectively made nearly $42 million in sales as set forth in the tables below:


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things, information pertaining to Emergent’s readiness to manufacture Covid-19 vaccines and the

Company’s longstanding pattern of quality control failures at the Bayview facility.

          112. In denying the motion to dismiss in the Securities Class Action, Judge Boardman

previously held that Kramer’s insider trades supported an inference of his fraudulent intent.

                               DAMAGES TO THE COMPANY

          113. As a result of the Individual Defendants’ misconduct, Emergent has incurred

significant harm, including huge losses in shareholder value, as reflected by the stock price

declines that occurred once the state of Bayview became known. The stock currently trades at less

than $3 share. Emergent’s disastrous Covid-19 episode has damaged the Company’s reputation

within the business community and in the capital markets.

          114. As a direct result of the Individual Defendants’ actions, Emergent has expended,

and will continue to expend, significant sums of money.

          115. Such expenditures include, but are not limited to: (a) costs incurred from defending

and paying any settlement in the Securities Class Action for violations of federal securities laws;

(b) costs incurred from reimbursements, penalties, or payments related to the contaminated

vaccines or supplies alleged herein; and (c) costs incurred from compensation and benefits paid to

the defendants who have breached their duties to Emergent; (d) massive expenses incurred in

connection with the many regulatory and other investigations faced by the Company.

                DERIVATIVE AND DEMAND REFUSAL ALLEGATIONS

          116. Plaintiff brings this action on behalf of Emergent to redress injuries suffered, and

to be suffered, by Emergent as a direct result of violations of the breaches of fiduciary duty alleged

herein. Emergent is named as a nominal defendant solely in a derivative capacity.




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          117. Plaintiff will adequately and fairly represent the interests of Emergent in enforcing

and prosecuting its rights and has hired counsel experienced in shareholder litigation.

          118. Plaintiff was a shareholder of Emergent at the time of the wrongdoing complained

of, has continuously been a shareholder since that time, and is a current shareholder.

          119. By letter dated July 20, 2022, Plaintiff made a demand on the Board to investigate

and pursue legal remedies against all wrongdoers with responsibility for the Bayview disaster and

the related fallout. See Exhibit A.

          120. By letter dated September 27, 2022 from Emergent corporate counsel, Plaintiff was

advised that the demand had been provided to the Board and that he would receive an update in

“due course.” See Exhibit B.

          121. By letter dated December 21, 2022 from the same corporate counsel, Plaintiff was

advised the Board believed “it would be prudent” to wait for a decision on the motion to dismiss

then pending in the Securities Class Action, as described above, and that thereafter, the Board

would “contact” Plaintiff concerning the demand. See Exhibit C.

          122. On September 1, 2023, the Court issued the order denying the motion to dismiss,

as alleged herein. Contrary to the December 21, 2022 letter, more than 30 days after the issuance

of the opinion, Plaintiff was not contacted regarding the Board’s process.

          123. By letter dated October 4, 2023, Plaintiff therefore advised the Board that, based

on Judge Boardman’s order, the Company clearly had actionable claims against its officers and

directors, that further delay was not acceptable, and that the Board needed to act immediately, and

to so advise Plaintiff by October 13, 2023. See Exhibit D.

          124. Plaintiff received only a meek response by email from outside counsel a few days

later, stating that the issue was “before the board.” See Exhibit E.




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          125. It is clear from Plaintiff’s correspondence with the Board that the Board has failed

to take the demand seriously and failed to timely pursue the issues raised in the demand, even as

statute of limitations defenses for the wrongdoers loom, given that the first reports about

Bayview’s disastrous conditions came to light in March and April of 2021, almost three years ago.

          126. No proactive steps have actually been taken by the Board, as evidenced by the

Board’s failure to timely communicate with Plaintiff.

          127. The Board’s failure to timely act on Plaintiff’s demand was not an objective

decision reached with due care, as the Board did not act independently, reasonably, nor in good

faith, on the basis of all reasonably available information.

          128. Rather, the Board has plainly disregarded the merits of the claims and allegations.

Accordingly, the Board wrongfully refused Plaintiff’s demand.

          129. This refusal is demonstrably made in bad faith, is unfounded in law, and was not

made independently on the basis of a good faith and reasonable investigation on the claims made

in plaintiff’s demand.

          130. The Board’s decision-making to date is not consistent with its obligation to

determine in good faith whether the demand’s claims have merit and whether it would be in the

Company’s best interests to pursue them.

          131. Emergent’s Board has shown itself post-demand to be so biased and lacking in

independence that it cannot fairly address Plaintiff’s demand, conduct any reasonable investigation

into the wrongdoing, or remediate the wrongful conduct alleged.

          132. In light of the Board’s failure to act, as manifested by its failure to timely

communicate with Plaintiff’s counsel, Plaintiff commences this derivative action in order to




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protect the Company, rectify the wrongs detailed herein, and hold the wrongdoers accountable for

the damages they have caused to Emergent.

          133. Under these circumstances, plaintiff must act to prosecute the Company’s claims.

                                            COUNT I

                              BREACH OF FIDUCIARY DUTY

          134. Plaintiff incorporates by reference the allegations set forth above.

          135. Each of the Individual Defendants as current or former Emergent officers and/or

directors, owe (or owed) the Company the fiduciary duties of care and loyalty.

          136. By virtue of their positions as Emergent directors and/or officers, the Individual

Defendants at all relevant times had the power to (and did) control, influence, and cause the

Company to engage in the practices complained of herein.

          137. Each of them was required to: (a) use his or her ability to control and manage

Emergent in a fair, just, and equitable manner; and (b) act in furtherance of the best interests of

Emergent rather than his or her own interests.

          138. The Individual Defendants violated their fiduciary duties of care and loyalty.

          139. The Individual Defendants breached the duty of candor and disclosure by making

false and misleading statements to shareholders.

          140. The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of fiduciary duties they owed to the Company. They intentionally or recklessly

breached or disregarded their fiduciary duties to protect the rights and interests of Emergent.

          141. The Individual Defendants breached their duties of care and loyalty by failing to

exercise proper oversight over Emergent and its internal control practices and procedures.




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          142. The Individual Defendants knew of “red flags” regarding Bayview going back for

years, and the decrepit state of Bayview’s internal control environment, yet failed to take steps to

remediate the problems notwithstanding being on notice of them.

          143. Emergent has been injured by reason of the Individual Defendants’ conduct.

                                            COUNT II

                                    UNJUST ENRICHMENT

          144. Plaintiff incorporates by reference the allegations set forth above.

          145. By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense and to the detriment of Emergent.

          146. The Individual Defendants were unjustly enriched as a result of the compensation

and stock they received while breaching their fiduciary duties owed to the Company.

          147. Plaintiff seeks restitution from the Individual Defendants and seeks an order from

this Court disgorging all profits, benefits, and other compensation obtained by the Individual

Defendants.

          148. Plaintiff, on behalf of Emergent, has no adequate remedy at law.

                                            COUNT III

                        BROPHY CLAIM FOR INSIDER TRADING

          149. Plaintiff incorporates by reference the allegations set forth above.

          150. At the time of the stock sales set forth herein, the Selling Insiders were in possession

of material, adverse, non-public information and sold Emergent common stock based on such

information.

          151. The information described above was proprietary non-public information material

to Emergent’s business prospects and therefore its financial condition. It was a proprietary asset




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belonging to the Company, which the Selling Insiders used for their own benefit when they sold

Emergent common stock.

             152. The Selling Insiders’ sales of Emergent stock while in possession of materially

adverse, non-public information was a breach of their fiduciary duties of loyalty and good faith.

Their sales were motived in whole or in part by the materially adverse, non-public information

alleged herein.

             153. Since the use of Emergent’s proprietary information for their own gain constitutes

a breach of the Selling Insiders’ fiduciary duties to Emergent, Emergent is entitled to disgorgement

of any profits made by the Selling Insiders (measured by the losses they avoided by trading upon

such information).

                                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment as follows:

        A.        Declaring that the Individual Defendants breached their fiduciary duties to

Emergent;

        B.        Declaring that certain Individual Defendants were unjustly enriched;

        C.        Declaring that the Selling Insiders engaged in unlawful insider trading;

        D.        Declaring the rights of Emergent as against the Individual Defendants, that they be

personally liable for all sums paid by Emergent in connection with the Securities Class Action

litigation, whether in settlement or at trial, and for all other civil or regulatory liabilities incurred;

        E.        Directing Emergent to take all necessary steps to improve its corporate governance

and internal policies and procedures to comply with applicable laws:

        F.        Entering judgment against the Individual Defendants and directing them to account

to Emergent for all damages sustained by Emergent by reason of the wrongs alleged herein;




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       G.     Awarding Plaintiff the costs and disbursements of this action, together with

reasonable attorneys’ fees and the reimbursement of expenses; and

       H.     Granting such other and further relief as the Court may deem just and proper.



Dated: October 31, 2023

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               Exhibit B
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               Exhibit C
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December 21, 2022


Willem F. Jonckheer
Schubert Jonckheer & Kolbe LLP
3 Embarcadero Center, Suite 1650
San Francisco, CA 94111

Re:     Shareholder Demand Pursuant to Del. Ct. Ch. R. 23.1


Dear Mr. Jonckheer,

         I write to provide an interim update regarding your demand dated July 20, 2022 pursuant to Delaware
Chancery Court Rule 23.1. Emergent BioSolutions is presently a defendant in a federal securities class action
captioned In re Emergent BioSolutions, Inc. Securities Litigation, No. 8:21-cv-00955-PWG (D. Md). Briefing on
Defendants’ motion to dismiss in that case, which was originally scheduled to be completed by August 18, 2022,
is currently on hold pending a ruling from the Court concerning Plaintiffs’ Request for Judicial Notice of certain
documents, filed on July 19, 2022.

          As you note, the Demand concerns the same “subject matter at issue in the Securities Class Action,”
Demand at 2, namely the Company’s public representations regarding its Bayview facility in Baltimore,
Maryland, and the events leading to a February 2021 contamination incident at the Bayview facility. It further
includes overlapping allegations regarding purported failures of internal controls and insider trading by the
Company’s officer(s). As such, a decision on the pending Motion to Dismiss in the securities class action would
help to inform the Board’s assessment of the issues raised in the Demand, and the Board believes it is prudent to
wait for that decision before proceeding further.

         Therefore, once the Board of Directors has received and evaluated the Court’s decision on the pending
dispositive motion, the Board will contact you again concerning the demand. The Board continues to reserve all
rights.


Best regards,




/s/ Jennifer Fox

Jennifer Fox
Senior Vice President, Legal Affairs and Deputy General Counsel
Emergent BioSolutions, Inc.




                         400 PROFESSIONAL DR, SUITE 400, GAITHERSBURG, MD 20879 | 240-631-3200
                                            EMERGENTBIOSOLUTIONS.COM
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               Exhibit D
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S CHUBERT J ONCKHEER & K OLBE LLP
                                                                           Attorneys at Law
Robert C. Schubert                                                                  Of Counsel
Willem F. Jonckheer                                                                 Miranda P. Kolbe
Dustin L. Schubert
Noah M. Schubert

Gregory T. Stuart

VIA EMAIL

October 4, 2023

Dr. Zsolt Harsanyi, Ph.D.
Chairman of the Board
Emergent BioSolutions Inc.
       c/o Jennifer Fox
       Executive Vice President, External Affairs
       General Counsel and Corporate Secretary
400 Professional Drive, Suite 400
Gaithersburg, MD 20879

       Re:     Demand on the Board of Directors to Investigate and Initiate Claims

Dear Dr. Harsanyi:

        I write on behalf of Richard J. Levine as Trustee of the Levine/Berenson Trust, a beneficial
owner of Emergent BioSolutions Inc. (“Emergent” or the “Company”) common stock. Mr. Levine
previously served a litigation demand on the Board of Directors on July 20, 2022 concerning the
disastrous conditions uncovered at Emergent’s Bayview facility in 2021 and the related fallout.

         By letter dated December 21, 2022, we were advised that the Board would delay action on
the litigation demand pending resolution of the motion to dismiss filed in the federal securities
fraud class action litigation captioned In re Emergent Biosolutions, Inc. Securities Litigation, No.
DLB-21-955 (D. Md.). As you are likely aware, on September 1, 2023, U.S. District Judge
Deborah L. Boardman denied the motion to dismiss, sustaining allegations that the defendants,
including Robert Kramer, Syed Husain and the Company, made false and misleading statements
regarding Emergent’s business and operations with scienter, or intent to defraud.

       It has been over a month since Judge Boardman’s order was issued. We have heard nothing
from the Board. Further delay is not acceptable.

      It is evident that the Company has actionable claims. Please confirm by no later than
October 13, 2023 that the Board will initiate all claims outlined in the litigation demand.




     2001 Union Street, Suite 200 · San Francisco, CA 94123 · (415) 788-4220 · Facsimile: (415) 788-0161
                                        www.classactionlawyers.com
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Dr. Zsolt Harsanyi, Ph.D.
October 4, 2023
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                                 Very truly yours,

                                /s/ Willem F. Jonckheer

                                 Willem F. Jonckheer
                            Schubert Jonckheer & Kolbe LLP

cc: Timothy J. Perla
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                Exhibit E
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From: "Swinford, Lisa" <SwinfordL@ebsi.com>
Date: Thursday, December 22, 2022 at 2:06 PM
To: "Willem F. Jonckheer" <wjonckheer@sjk.law>
Subject: Shareholder Demand Le.er

Dear Mr. Jonckheer,

Please see attached. A hard copy was placed in the mail today.

Best,

Lisa Swinford
Executive Assistant to
Executive Vice President of External Affairs, General Counsel, and Corporate Secretary


E sw nford @ebs .com

P 240-631-3499

C 202-760-0181



emergentb oso ut ons.com
400 Profess ona Dr ve, Su te 400, Ga thersburg, MD 20879, Un ted States




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                                                        VERIFICATION

                       I, Richard J. Levine, on behalf of the Levine/Berenson Trust, verify that I have reviewed

             the foregoing Verified Shareholder Derivative Complaint, and that the allegations as to me are true

             and correct and that the other allegations upon information and belief are true and correct.


             Dated:             




                                            _________________________________

                                                        Richard J. Levine
